            Case 17-40416        Doc 11     Filed 01/02/18 Entered 01/02/18 16:39:58              Desc Main
                                              Document     Page 1 of 3


Local Form 4A                                                                                    December 2017

                                   IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                                SHELBY DIVISION


         In re:                                          )       Case No. 17-40416
         Sarah Mae Howell                                )
                                                         )
                                                         )       Chapter 13
                                                         )
         TIN: XXX-XX-0482                                )
                                          Debtor(s)      )

                                    AMENDMENT TO CHAPTER 13 PLAN
                  AND NOTICE OF OPPORTUNITY FOR HEARING ON CONFIRMATION OF THE PLAN
                             FOR CASES FILED ON OR AFTER DECEMBER 1, 2017

Check if applicable to this plan amendment:

1.1     A limit on the amount of a secured claim that may result in a partial             ☐ Included       ☑Not Included
        payment or no payment at all to the secured creditor (Part 3.2)
1.2     Avoidance of a judicial lien or nonpossessory, nonpurchase-money                  ☐ Included       ☑Not Included
        security interest (Part 3.4)
1.3     Request for termination of the 11 U.S.C. § 362 stay as to surrendered             ☐ Included       ☑Not Included
        collateral (Part 3.5)
1.4     Request for assumption of executory contracts and/or unexpired leases             ☐ Included       ☑Not Included
        (Part 6)
1.5     Nonstandard provisions                                                            ☐ Included       ☑Not Included

      The Chapter 13 Plan, including certain motions and other provisions, is hereby amended as follows:

      To list conduit payment interest rate.

 Part
             Treatment of Secured Claims
  3:

3.1     Maintenance of payments and cure of default, if any. Conduit mortgage payments, if any, are
        included here.
                 Check one.
         None. If ‘‘None’’ is checked, the rest of Part 3.1 need not be completed or
 ☐       reproduced.
 ☑       The Debtor will maintain the current contractual installment payments on the
         secured claims listed below, with any changes required by the applicable
         contract and noticed in conformity with any applicable rules.          These
         payments will be disbursed by the Chapter 13 Trustee, directly by the
         Debtor, or as otherwise specified below. Any existing arrearage on a listed
         claim will be paid in full through disbursements by the Chapter 13 Trustee,
         with interest, if any, at the rate stated.     If relief from the automatic
         stay is ordered as to any item of collateral listed in this paragraph, then,
         unless otherwise ordered by the Court, all payments under this paragraph as
         to that collateral will cease, and all secured claims based on that
              Case 17-40416         Doc 11      Filed 01/02/18 Entered 01/02/18 16:39:58                  Desc Main
                                                  Document     Page 2 of 3


           collateral will no longer be treated by the Plan.

                                                                           Current                               Interest
                                                                         installment                              rate on
                                                     Value of              payment              Amount of        arrearage
        Name of                                     Collateral           (including             arrearage           (if
        creditor                Collateral                                 escrow)              (if any)        applicable)
    US Bank Trust
    National                  Residence             $50,841.00        $ 712.41                  $7,064.04                       %
    Association
                                                                      Disbursed by:
                                                                      ☐Trustee
                                                                      ☐Debtor
                                                                      ☐Other
                                                                      _______________
                                                    $                 $                         $                               %
                                                                      Disbursed by:
                                                                      ☐Trustee
                                                                      ☐Debtor
                                                                      ☐Other
                                                                      _______________

    Please explain any disbursements to be made by someone other than the
    Chapter 13 Trustee or the Debtor:

    TAKE NOTICE: Your rights may be affected. You should read this amendment to the Chapter 13 Plan carefully and
    discuss them with your attorney, if you have one, in this bankruptcy case. If you do not have an attorney, you may wish to
    consult one.

    If you do not want the Court to confirm the Debtor’s proposed Plan as amended, or if you want the Court to consider your
views on these matters, then you and/or your attorney must file a written objection to confirmation and request for hearing on
confirmation at one of the following addresses:

        Cases filed in the Charlotte or Shelby Divisions:
        Physical & Mailing Address: Clerk, U.S. Bankruptcy Court, 401 West Trade Street, Room 111, Charlotte, N.C. 28202

        Cases filed in the Statesville Division:
        Physical Address: Clerk, U.S. Bankruptcy Court, 200 West Broad Street, Room 301, Statesville, N.C. 28677
        Mailing Address: Clerk, U.S. Bankruptcy Court, 401 West Trade Street, Room 111, Charlotte, N.C. 28202

         Cases filed in the Asheville or Bryson City Divisions:
         Physical & Mailing Address: Clerk, U.S. Bankruptcy Court, 100 Otis Street, Room 112, Asheville, N.C. 28801-2611
         Your objection to confirmation and request for hearing must include the specific reasons for your objection and must
    be filed with the Court no later than 21 days following the conclusion of the § 341 meeting of creditors, or within 21 days of
    service of the amendment, whichever is later. If you mail your objection to confirmation to the Court for filing, you must
    mail it early enough so that the Court will receive it on or before the deadline stated above. You must also serve a copy of
    your objection to confirmation on the Debtor at the address listed in the notice of the meeting of creditors. The Debtor’s
    attorney and the Chapter 13 Trustee will be served electronically. If any objections to confirmation are filed with the Court,
    the objecting party will provide written notice of the date, time, and location of the hearing. No hearing will be held
    unless an objection to confirmation is filed.


                                                                  2
          Case 17-40416         Doc 11     Filed 01/02/18 Entered 01/02/18 16:39:58                Desc Main
                                             Document     Page 3 of 3


     If you or your attorney do not take these steps, the Court may decide that you do not oppose the proposed plan of the
Debtor as amended and may enter an order confirming the amended plan and granting the motions. Any creditor’s
failure to object to confirmation of the proposed plan as amended shall constitute the creditor’s acceptance of
the treatment of its claim as proposed pursuant to 11 U.S.C. § 1325(a)(5)(A).

        I declare under penalty of perjury that the information provided in this Amendment to Chapter 13 Plan is true and
correct as to all matters set forth herein.


Dated___1/2/2018__________                               _______Sarah Mae Howell______________
                                                               Debtor’s Signature


I hereby certify that I have reviewed this document with the Debtor and that the Debtor has received a copy of this
document.

Dated____1/2/2018____________                            ________Robert H. Lutz______________
                                                               Attorney for the Debtor


                                               CERTIFICATE OF SERVICE

This is to certify that I have this day served each party or counsel of record indicated on the list attached hereto in the
foregoing matter with a copy of this Amended Chapter 13 Plan by depositing in the United States mail a copy of same in a
properly addressed envelope with first class postage thereon. Attorneys were served electronically.

        This the   2nd      day of   January        , 20 18   .

                                                                         ___Robert H. Lutz_____________
                                                                         Robert H. Lutz
                                                                         Lutz Law Firm, PLLC
                                                                         310-8 East Graham Street
                                                                         Shelby, NC 28150
                                                                         N.C. State Bar No. 16375




                                                              3
